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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 LARBALL PUBLISHING COMPANY, INC.
 and SANDY LINZER PRODUCTIONS, INC.,

                Plaintiffs,

 vs.                                                    Case No. 1:22-cv-1872

 DUA LIPA, et al.,

                Defendants.


             NOTICE OF DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
              AS TO DEFENDANT JONATHAN LYNDALE KIRK ONLY

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Larball Publishing

Company, Inc. and Sandy Linzer Productions, Inc., hereby give notice of the dismissal, without

prejudice, of all of their claims in this matter against Defendant Jonathan Lyndale Kirk a/k/a Da

Baby. For the avoidance of doubt, Plaintiffs maintain and do not hereby dismiss their claims

against any other Defendant in this matter.

       Plaintiffs respectfully suggest that this dismissal moots Defendant Kirk’s Motion to

Dismiss, ECF 67, filed on January 30, 2023.

DATED: July 7, 2023                              Respectfully submitted,

                                                 BROWN, LLC

                                                 s/ Jason T. Brown
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